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United States District Court
Southern District of Texas
FILED

UNITED STATES DISTRICT COURT 4 JUL 22 2021
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION Nathan Ochsner, Clerk

UNITED STATES OF AMERICA §

§
v. § Criminal No.

§ W-21-1430
ERIC SAMUEL JARVIS §

SEALED CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

From on or about July 24, 2017 through on or about May 10, 2021, in the Southern District
of Texas and elsewhere, Defendant,

ERIC SAMUEL JARVIS

did knowingly use a facility in interstate and foreign commerce, namely, a cellular phone, with the
intent to promote, manage, establish, carry on and facilitate the promotion, management,
establishment, and carrying on of an unlawful activity, that is, conspiracy to possess with the intent
to distribute a controlled substance in violation of Title 21, United States Code, Section 846;
conspiracy to import a controlled substance in violation of Title 21, United States Code, Section
963; and conspiracy to commit money laundering in violation of Title 18, United States Code,
Section 1956(h), and thereafter performed and attempted to perform an act to promote, manage,
establish and carry on, and to facilitate the promotion, management, establishment and carrying
_on of such unlawful activity.
In violation of Title 18, United States Code, Section 1952(a)(3).

NOTICE OF FORFEITURE
31 U.S.C. § 5317()(1)(A); 28 U.S.C. 2461(c)

Pursuant to Title 28, United States Code, Section 2461(c), Title 18, United States Code,
Sections 981 and 1956, and Title 21, United States Code, Section 853, the United States gives

notice to defendant,

 
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that in the event of conviction, the United States intends to seek forfeiture of all property, real or
personal, constituting, or derived from, any proceeds the person obtained directly or indirectly, as
a result of such violation, as provided by Title 21, United States Code, Section 853.
The property subject to forfeiture includes, but is not limited to, the following property: at least
$8,000.00 in United States currency.
Money Judgment
Defendant is notified that upon conviction, a monetary judgment may be imposed equal to the total
value of the property subject to forfeiture.
Substitute Assets

Defendant is notified that in the event that property subject to forfeiture, as a result of any act or
omission of defendant,

(A) cannot be located upon the exercise of due diligence;

(B) has been transferred or sold to, or deposited with, a third party;

(C) has been placed beyond the jurisdiction of the court;

(D) has been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without difficulty, it
is the intent of the United States to seek forfeiture of any other property of the defendant up to the
total value of such property pursuant to Title 21, United States Code, Section 853(p), incorporated
by reference in Title 28, United States Code, Section 2461(c).

JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY

 
